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                                                                             November 5, 2020

         BY ECF
         The Honorable Judge Paul A. Engelmayer
         United States District Judge
         Southern District of New York
         40 Foley Square
         New York, NY 10007

         RE:     United States v. Jose Dellon, aka Jose Vellon
                 20 Cr. 474 (PAE)


         Honorable Judge Engelmayer:
                 A status conference in the above-captioned case is currently scheduled for November 6,
         2020. Defense counsel has reviewed discovery and determined that the defense will not file
         pretrial motions in this matter. The parties jointly request that the November 6 conference be
         adjourned for approximately 30 to 45 days to enable defense counsel to further discuss discovery
         with Mr. Vellon and for the parties to engage in plea negotiations. The Government also
         requests, with the consent of defense counsel, that the Court exclude time through the next-
         scheduled conference under the Speedy Trial Act. Such an exclusion would be in the interests of
         justice as it would allow the parties time to continue discussions concerning pretrial dispositions
         of this matter. See 18 U.S.C. § 3161(h)(7)(A).
                 Thank you for your consideration of this request.




                                                              Respectfully submitted,
GRANTED. The conference is adjourned to
December 8, 2020 at 2:30 p.m. For the reasons                 /s/
stated above, time is excluded, pursuant to 18                Marne L. Lenox
U.S.C. 3161(h)(7)(A), until December 8, 2020.                 Assistant Federal Defender
                                                              (212) 417-8721
The Clerk of Court is requested to terminate
the motion at Dkt. No. 27.
                                    11/6/2020


               PaJA.�
   SO ORDERED.

               __________________________________           cc:      Samuel Rothschild, Assistant U.S. Attorney
                     PAUL A. ENGELMAYER
                     United States District Judge
